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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DEBRINA SPRAGGINS, as parent and next               )
 friend of NIKHI CALLOWAY, a minor,                  )
                                                     )            Case No.
 Plaintiff,                                          )
                                                     )            Judge
 vs.                                                 )
                                                     )            Magistrate Judge
 NIKITA BROWN and the CHICAGO                        )
 BOARD OF EDUCATION,                                 )            JURY DEMAND
                                                     )
 Defendants.                                         )

                                           COMPLAINT

            NOW COMES the Plaintiff, NIKHI CALLOWAY, a minor, by and through his

 parent and next friend, DEBRINA SPRAGGINS, and through counsel Erickson &

 Oppenheimer, complaining against the Defendants, NIKITA BROWN and the CHICAGO

 BOARD OF EDUCATION, as follows:

                                         INTRODUCTION

        1.       This action is brought pursuant to 42 U.S.C. §1983 to address deprivations of

Plaintiff’s rights under the Constitution of the United States.

                                          JURISDICTION

        2.       The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42 U.S.C.

§§ 1983 and 1988; 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the United States; and

pendent jurisdiction as provided under 28 U.S.C. § 1367(a).

                                               VENUE

        3.       Venue is proper under 28 U.S.C. Section 1391 (b). All of the parties reside in this

judicial district and the events described herein all occurred within this district.

                                              THE PARTIES

        4.       The Plaintiff, Nikhi Calloway, is a 9 year old resident of the Northern District of

Illinois.
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        5.      Debrina Spraggins is the mother of minor Nikhi Calloway and is a resident of the

Northern District of Illinois.

        6.      On information and belief, the Defendant, Nikita Brown, was at all relevant times

a teacher at Carter G. Woodson Elementary School in the City of Chicago and an employee

and agent of the Chicago Board of Education acting within her scope of employment and under

color of law.

        7.      Defendant, Chicago Board of Education, is a school system in Chicago, Illinois in

charge of the management and operation of Carter G. Woodson Elementary School located at or

about 4414 S. Evans Ave. in Chicago, Illinois.

                                              FACTS

        8.      On or about March 1, 2016, Nikhi was a 4 th grade student in a special needs

classroom at Carter G. Woodson Elementary School.

        9.      Defendant Brown was Nikhi’s teacher.

        10.     The Defendant approached Nikhi and exchanged words with him.

        11.     The Defendant then instructed the other students in the room to leave and

they complied.

        12.     The Defendant then grabbed Nikhi, pushed him against a table, and choked

him.

        13.     The Defendant then grabbed Nikhi by his clothes and dragged him out of the

room.

        14.     The Defendant proceeded to drag Nikhi down the stairs all the way to the

principal’s office located on a different floor.

        15.     The Defendant’s actions and use of physical force were committed without

just cause or provocation.

        16      Nikhi was taken by ambulance from the school to the hospital.

        17.     Nikhi suffered physical injuries as a result of the Defendant’s conduct.



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          18.    The incident was captured on video.

          19.    Defendant Brown was terminated from her employment within a few days.

          20.    Defendant Brown was arrested on or about March 16 by the Chicago Police

Department and has been charged with aggravated battery to a child.

                    COUNT I—SUBSTANTIVE DUE PROCESS VIOLATION

          21.    Plaintiff hereby incorporates all previous paragraphs as though fully set forth

herein.

          22.    The actions of the Defendant as set forth hereto constitute a violation of Plaintiff,

thus violating his rights under the United States Constitution and 42 U.S.C. Section 1983.

          23.    Said actions of the Defendant were intentional, willful and wanton and committed

with reckless disregard for Plaintiff’s rights.

          24.    Said actions of the Defendant were objectively unreasonable under the

circumstances.

          25.    As a direct and proximate consequence of the Defendant’s conduct, the Plaintiff

suffered damages, including without limitation violations of his constitutional rights, emotional

anxiety, fear, pain and suffering, and monetary expense.

          WHEREFORE, the Plaintiff prays for judgment against the Defendant for an award of

reasonable compensatory and punitive damages, plus attorneys’ fees and costs.

                                       COUNT II— BATTERY

          26.    Plaintiff hereby incorporates all previous paragraphs as though fully set forth

herein.

          27.    As set forth hereto and without the consent of Plaintiff, the Defendant offensively

touched Plaintiff intentionally, with malice, and without justification.

          28.    As a direct and proximate result of the Defendant’s actions, Plaintiff suffered

bodily harm.




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          WHEREFORE, the Plaintiff prays for judgment against the Defendant for an award

of reasonable compensatory and punitive damages, plus costs.

                              COUNT III—INDEMNIFICATION

          29.   Plaintiff hereby incorporates all previous paragraphs as though fully set forth

herein.

          30.   At all relevant times, Defendant Chicago Board of Education was the employer of

Defendant Brown

          31.   Defendant Brown committed the acts alleged above under the color of law and in

the scope of his employment as an employee of the Chicago Board of Education.

          32.   In Illinois, public entities are directed to pay for any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

          33.   As a proximate cause of Defendant Brown’s unlawful acts, which occurred within

the scope of her employment, Plaintiff was injured.

          WHEREFORE, should Defendant Brown be found liable on one or more of the federal

claims set forth above, Plaintiff demands, pursuant to 745 ILCS 10/9-102, that Defendant Chicago

Board of Education be found liable for any compensatory judgment Plaintiff obtains against said

Defendant(s), plus attorneys’ fees and costs awarded and such other and additional relief that this

Court deems equitable and just.

                          COUNT IV—RESPONDEAT SUPERIOR

          34.   Each of the paragraphs above is incorporated by reference as though fully stated

herein.

          35.   In committing the acts alleged in the preceding paragraphs, the individual

Defendant was an agent of the Chicago Board of Education and was acting at all relevant times

within the scope of her employment and under color of law.




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        36.      Defendant Chicago Board of Education is liable as principal for all torts committed

by its agents.

        WHEREFORE, should Defendant Brown be found liable on one or more of the state

claims set forth above, Plaintiff demands that, pursuant to respondeat superior, Defendant

Chicago Board of Education be found liable for any compensatory judgment Plaintiff obtains

against said Defendant(s), as well as costs awarded.

                                         JURY DEMAND

        The Plaintiff requests a trial by jury.

                                      NOTICE OF ASSIGNMENT

        Please be advised that all rights relating to attorneys’ fees have been assigned to counsel.


                                                  Respectfully submitted,


                                                  /s/ Ronak Maisuria


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